       Case 2:17-cr-00128-RMP           ECF No. 722        filed 11/03/20      PageID.2435 Page 1 of 3
 PROB 12C                                                                           Report Date: November 3, 2020
(6/16)

                                       United States District Court                                    FILED IN THE
                                                                                                   U.S. DISTRICT COURT
                                                                                             EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                              Nov 03, 2020
                                        Eastern District of Washington                            SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Billy J. Koschney                        Case Number: 0980 2:17CR00128-RMP-6
 Address of Offender: Spokane County Jail - 1100 West Mallon Avenue Spokane, WA 99206
 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, U.S. District Judge
 Date of Original Sentence: January 10, 2018
 Original Offense:        Bank Fraud, 18 U.S.C. § 1344(1)
 Original Sentence:       Prison - 116 Days;                Type of Supervision: Supervised Release
                          TSR - 60 Months
 Asst. U.S. Attorney:     David M. Herzog                   Date Supervision Commenced: January 10, 2018
 Defense Attorney:        Molly Marie Winston               Date Supervision Expires: January 9, 2023


                                         PETITIONING THE COURT

To incorporate the violation(s) contained in this petition in future proceedings with the violation(s) previously
reported to the Court on 4/23/2020, 10/15/2020, 10/26/2020 and 10/29/2020.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            9           Mandatory Condition #3: You must refrain from any unlawful use of a controlled
                        substance. You must submit to one drug test within 15 days of release from imprisonment
                        and at least two periodic drug tests thereafter, as determined by the court.

                        Supporting Evidence: Mr. Billy Koschney is alleged to have violated mandatory condition
                        number 3 by ingesting methamphetamine on or about October 25, 2020, based on urinalysis
                        testing.

                        On January 16, 2018, Mr. Koschney signed his conditions relative to case number
                        2:17CR00128-RMP-6, indicating he understood all conditions as ordered by the Court.
                        Specifically, Mr. Koschney was made aware by his U.S. probation officer that he was
                        required to refrain from any unlawful use of a controlled substance.

                        Specifically, and as the Court may recall, on October 24, 2020, Mr. Koschney, while residing
                        at the Spokane Residential Reenty Center (RRC), had requested to travel to the hospital
                        following a described medical emergency. Mr. Koschney was initially released to travel to
                        the hospital at approximately 11:10 p.m. on October 24, 2020, and later contacted staff upon
                        his arrival at Sacred Heart Hospital at approximately 3:15 a.m. on October 25, 2020. Sacred
                        Heart Hospital is a 1 hour and 17 minute walk from the Spokane RRC according to mapping
                        websites.
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                       Due to Mr. Koschney being unaccounted for in the community, he was subsequently directed
                       to return to the Spokane RRC. Upon Mr. Koschney’s return to the Spokane RRC, he
                       submitted to urinalysis testing. Mr. Koschney was denied a request to immediately return to
                       the hospital in Spokane due to his being unaccounted for in the community at which time he
                       made the decision to remove himself from Spokane RRC residency. This conduct was
                       previously reported to the Court in the petition dated October 26, 2020.

                       On November 2, 2020, the undersigned officer received a laboratory confirmation report
                       specific to Mr. Koschney, and as provided through e-mail by the Spokane RRC assistant
                       director. It should be noted that Mr. Koschney resided at the Spokane RRC beginning on
                       October 9, 2020, until he removed himself from services on October 25, 2020. The lab report
                       shows a sample collection date of October 25, 2020, and according to the assistant director,
                       was collected by Spokane RRC staff upon the client’s arrival back to the facility from the
                       hospital and prior to his decision to remove himself from RRC services. The lab report
                       serves to confirm the sample as submitted by the client as being positive for
                       methamphetamine.

                       It should also be noted, on October 29, 2020, a petition was submitted alleging the client’s
                       previous use of methamphetamine as occurring on or about October 23, 2020. Following a
                       comparison of the reports, it was observed that a significant spike in the levels of
                       methamphetamine detected in the second sample existed. Such an influx in levels is
                       consistent with the client’s continued use of methamphetamine. As a result, this petition is
                       now being submitted to the Court.

The U.S. Probation Office respectfully recommends the Court to incorporate the violation(s) contained in this petition
in future proceedings with the violation(s) previously reported to the Court.

                                           I declare under penalty of perjury that the foregoing is true and correct.
                                                            Executed on:      November 3, 2020
                                                                              s/Chris Heinen
                                                                              Chris Heinen
                                                                              U.S. Probation Officer
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 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ X]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [ X]     Defendant to appear before the Magistrate Judge.
 [ ]      Other


                                                                     Signature of Judicial Officer
                                                                         11/3/2020
                                                                     Date
